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                                                       U.S. Department of Justice

                                                       Channing D. Phillips
                                                       Acting United States Attorney

                                                       District of Columbia


                                                       Judiciary Center
                                                       555 Fourth St., N.W.
                                                       Washington, D.C. 20530

                                                     September 14, 2021

Anthony Colton
Supervisory Assistant Federal Defender
Office of the Federal Public Defender for the Western District of Texas
200 East Wall Street, Suite 110
Midland, TX 79701

       Re:      United States v. Luke Coffee
                Case No. 21-cr-327

Dear Counsel:

        Enclosed as preliminary discovery in this case are files available on USAfx, consisting of
the following materials:

   •   File folder named US v. Luke Coffee September 14 2021 Informal Production. This
       folder includes the following 28 files:

                   File Name
                   _266H-DL-3382725_0000042
                   Inked266H-DL-
                   3382725_0000011_1A0007578_0000001_LI
                   266H-DL-3382725_0000068_1A0000001_0000007
                   266H-DL-3382725_0000068_1A0000001_0000008
                   266H-DL-3382725_0000068_1A0000001_0000001
                   266H-DL-3382725_0000068_1A0000001_0000006
                   266H-DL-3382725_0000068_1A0000001_0000003
                   266H-DL-3382725_0000068_1A0000001_0000005
                   266H-DL-3382725_0000068_1A0000001_0000004
                   266H-DL-3382725_0000044_1A0000014_0000002
                   266H-DL-3382725_0000044_1A0000014_0000001
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                  266H-DL-3382725_0000023_1A0000001_0000009
                  266H-DL-3382725_0000023_1A0000001_0000014
                  266H-DL-3382725_0000023_1A0000001_0000011
                  266H-DL-3382725_0000023_1A0000001_0000015
                  266H-DL-3382725_0000023_1A0000001_0000010
                  266H-DL-3382725_0000023_1A0000001_0000013
                  266H-DL-3382725_0000011_1A0007577_0000001
                  266H-DL-3382725_0000023_1A0000001_0000002
                  266H-DL-3382725_0000003_1A0000013_0000001
                  266H-DL-3382725_0000023_1A0000001_0000001
                  _266H-DL-3382725_0000067
                  _266H-DL-3382725_0000031
                  _266H-DL-3382725_0000023_1A0000001_0000005
                  _266H-DL-3382725_0000023_1A0000001_0000004
                  _266H-DL-3382725_0000009[1]
                  _266H-DL-3382725_0000010
                  _266H-DL-3382725_0000008[1]


        Due to the extraordinary nature of the January 6, 2021 Capitol Attack, the government
anticipates that a large volume of materials may contain information relevant to this prosecution.
These materials may include, but are not limited to, surveillance video, statements of similarly
situated defendants, forensic searches of electronic devices and social media accounts of
similarly situated defendants, and citizen tips. As we have discussed, the government is
working to develop a system that will facilitate access to these materials. In the meantime,
please let me know if there are any categories of information that you believe are particularly
relevant to your client.

       This material is subject to the terms of the Protective Order issued in this case.

        I will forward additional discovery as it becomes available. If you have any questions,
please feel free to contact me.

                                                      Sincerely,

                                                             /s/

                                                      Peter Lallas
                                                      Assistant United States Attorney




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